
In re Hamilton, Robert; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. D, Nos. 330-904/331-020/332-*361104; to the Court of Appeal, Fourth Circuit, No. 99-K-1923.
Denied. La. C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La. C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694.
